       Case 2:10-cv-01831-MEA Document 1 Filed 08/26/10 Page 1 of 5




 1
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 6
                              UNITED STATES DISTRICT COURT
 7
                               FOR THE DISTRICT OF ARIZONA
 8
     Cesar Ramirez,                              ) Case No.
 9
                                                 )
10   Plaintiff,                                  ) COMPLAINT AND TRIAL BY JURY
                                                 ) DEMAND
11
            vs.                                  )
12                                               )
     Enhanced Recovery Corporation,              )
13
                                                 )
14   Defendant.                                  )
15
                                     NATURE OF ACTION
16

17          1.    This is an action brought under the Fair Debt Collection Practices Act
18
     (“FDCPA”), 15 U.S.C. § 1692 et seq., and the Telephone Consumer Protection Act
19
     (“TCPA”), 47 U.S.C. § 227.
20

21                               JURISDICTION AND VENUE

22          2.    This Court has jurisdiction under 15 U.S.C. § 1692k(d), 47 U.S.C. §
23
     227(b)(3), 28 U.S.C. § 1331, and 28 U.S.C. § 1367(a).
24

25
            3.    Venue is proper before this Court pursuant to 28 U.S.C. §1391(b), where

26   the acts and transactions giving rise to Plaintiff’s action occurred in this State and this
27

28




                                             Complaint - 1
       Case 2:10-cv-01831-MEA Document 1 Filed 08/26/10 Page 2 of 5




 1
     district, where Plaintiff resides in this State and this district, and where Defendant

 2   transacts business in this State and this district.
 3
                                               PARTIES
 4
            4.      Plaintiff, Cesar Ramirez (“Plaintiff”), is a natural person who at all relevant
 5

 6   times resided in the State of Arizona, County of Maricopa, and City of Phoenix.
 7
            5.      Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).
 8
            6.      Defendant, Enhanced Recovery Corporation (“Defendant”) is an entity who
 9

10   at all relevant times was engaged, by use of the mails and telephone, in the business of
11
     attempting to collect a “debt” from Plaintiff, as defined by 15 U.S.C. §1692a(5).
12
            7.      Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6).
13

14                                   FACTUAL ALLEGATIONS
15          8.      Plaintiff is a natural person obligated, or allegedly obligated, to pay a debt
16
     owed or due, or asserted to be owed or due a creditor other than Defendant.
17

18          9.      Plaintiff's obligation, or alleged obligation, owed or due, or asserted to be

19   owed or due a creditor other than Defendant, arises from a transaction in which the
20
     money, property, insurance, or services that are the subject of the transaction were
21

22
     incurred primarily for personal, family, or household purposes.

23          10.     Defendant uses instrumentalities of interstate commerce or the mails in a
24
     business the principal purpose of which is the collection of any debts, and/or regularly
25
     collects or attempts to collect, directly or indirectly, debts owed or due, or asserted to be
26

27   owed or due another.
28




                                                Complaint - 2
       Case 2:10-cv-01831-MEA Document 1 Filed 08/26/10 Page 3 of 5




 1
            11.    Within one (1) year preceding the date of this Complaint, Defendant made

 2   and/or placed a telephone call to Plaintiff’s cellular telephone number, in effort to collect
 3
     from Plaintiff an obligation, or alleged obligation, owed or due, or asserted to be owed or
 4
     due a creditor other than Defendant.
 5

 6          12.    Within one (1) year preceding the date of this Complaint, Defendant
 7
     willfully and knowingly utilized an automatic telephone dialing system to make and/or
 8
     place a telephone call to Plaintiff’s cellular telephone number, in effort to collect from
 9

10   Plaintiff an obligation, or alleged obligation, owed or due, or asserted to be owed or due a
11
     creditor other than Defendant.
12
            13.    Defendant caused Plaintiff’s telephone to ring repeatedly or continuously
13

14   with intent to harass, annoy or abuse Plaintiff, including Defendant repeatedly and
15   continually calling Plaintiff for over a one year period on an alleged debt that does not
16
     belong to her (§ 1692d(5)).
17

18          14.    Defendant placed non-emergency telephone calls using an automatic

19   telephone dialing system to Plaintiffs cell phone, without Plaintiffs prior express consent,
20
     for which Plaintiff was charged for the call.
21

22
            15.    Specifically, Defendant has been repeatedly contacting Plaintiff at her cell

23   phone (602) 350-9955, without legal justification do so in violation of the Telephone
24
     Communication Protection Act (TCPA)(47 U.S.C.§ 227(b)(1)(A)(iii).
25
            16.    Defendant’s actions constitute conduct highly offensive to a reasonable
26

27   person, and as a result of Defendant’s behavior Plaintiff suffered and continues to suffer
28




                                              Complaint - 3
       Case 2:10-cv-01831-MEA Document 1 Filed 08/26/10 Page 4 of 5




 1
     injury to Plaintiff’s feelings, personal humiliation, embarrassment, mental aguish and/or

 2   emotional distress.
 3
                                               COUNT I
 4
            17.      Plaintiff repeats and re-alleges each and every allegation contained above.
 5

 6          18.      Defendant violated the FDCPA as detailed above.
 7
            WHEREFORE, Plaintiff prays for relief and judgment, as follows:
 8
                  a) Adjudging that Defendant violated the FDCPA;
 9

10                b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k, in the
11
                     amount of $1,000.00;
12
                  c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;
13

14                d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in this
15                   action;
16
                  e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be
17

18                   allowed under the law;

19                f) Awarding such other and further relief as the Court may deem just and
20
                     proper.
21

22
                                              COUNT II

23          19.      Plaintiff repeats and re-alleges each and every allegation contained above.
24
            20.      Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii) by willfully and
25
     knowingly utilizing an automatic telephone dialing system to make and/or place a
26

27   telephone call to Plaintiff’s cellular telephone number.
28
            WHEREFORE, Plaintiff prays for relief and judgment, as follows:



                                               Complaint - 4
     Case 2:10-cv-01831-MEA Document 1 Filed 08/26/10 Page 5 of 5




 1
           a) Adjudging that Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii);

 2         b) Awarding Plaintiff statutory damages, pursuant to 47 U.S.C. §
 3
              227(b)(3)(B), in the amount of $500.00 per violation;
 4
           c) Awarding Plaintiff statutory damages, pursuant to 47 U.S.C. §
 5

 6            227(b)(3)(C), in the amount of $1,500.00 per violation;
 7
           d) Awarding Plaintiff actual damages, pursuant to 47 U.S.C. § 227(b)(3)(B);
 8
           e) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in this
 9

10            action;
11
           f) Awarding Plaintiff any pre-judgment and post-judgment interest as may be
12
              allowed under the law.
13

14                                  TRIAL BY JURY
15
              Plaintiff is entitled to and hereby demands a trial by jury.
16

17            Respectfully submitted this 26th day of August, 2010

18                           By: s/ Marshall Meyers
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25

26

27

28




                                         Complaint - 5
